Case 2:04-cr-20472::JDB Document 36 Filed 05/31/05 ,.Page 1 of 2 Page|D 48

1N THE UNITED STATES DISTRICT coURT
FOR THE WESTERN DISTRICT oF TENNESSEE "3-€9 f`»‘Y--- _'. -- _Q.c
WESTERN DIVISION
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Plainriff, * W D r>:-'~ ““r=.'. ii§i;`ip€';i'§
v. * CR. No. 2;04cr20472-B
JOHN WAYNE GLENN, *
Defendant. *

 

ORI)ER GRANTING DEFENDANT'S MOTION T() WAIVE
APPEARANCE AT REPORT

 

For good cause shown, defendant’S request to Waive his appearance at report Set in this
case for Tuesday, May 31, 2005, at 9:30 a.rn. is hereby GRANTED. Defendant shall not be
required to appear at the above report and Shall remain on his present bond.

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rr is 50 ORDEREI), this the ?' day er May, 2005.

 

no able J. Daniel Breen\
nite States Dis|;rict Judge

_"`“ This doctment entered on the docket sheet'ln cornp\lance

with Rt\le 55 and/or 321!)\ FRCrP on

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UNITED sTATE DISIC COURT - WESRNTE D'S'TRCT 0 TESSEE

   
 

Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in
case 2:04-CR-20472 Was distributed by faX, mail, or direct printing on
June 10, 2005 to the parties listed.

 

 

Pamela B. Hamrin

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Honorable .l. Breen
US DISTRICT COURT

